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2605 WL 658818

2005 WL 658818
Only the Westlaw citation is currently available.

UNPUBLISHED OPINION, CHECK
COURT RULES BEFORE CITING.

Court of Appeals of Michigan.

Aileen GOMERY, Plaintiff/C ounter-
Defendant-Appellee/Crass-Appellant,
ve
CREST FINANCIAL, INC., and Linda
Dargis-Giroux, Defendanis/Counter-
Plaintiffs-Appellants/Cross-Appellees.

No. 250881.
|

March 22, 2005.

Before: SAAD, P.J., and SMOLENSK] and COOPER,
JJ.

[UNPUBLISHED]

PER CURIAM.

*! Defendant Crest Financial, Inc. ! appeals as of right
from an order granting plaintiff Aileen Gomery attorney
fees in this wrongful termination action. Plaintiff cross-
appeals from an order limiting her damages. We affirm the
trial court's order limiling plaintiff's damages. However,
we vacate the award of attorney fees and remand to allow
the trial court to make findings of fact regarding the
reasonableness of the awarded fees.

I. Facts and Procedural Background

This action arose when defendant terminated plaintiff's
employment in June of 2002. The termination occurred
one week after plaintiff threatened to contact the
Department of Labor regarding defendant's failure to pay
her accurate commissions. The termination also occurred
on the same day that plaintiffs doctor placed her on
leave due to work-related stress. As a result, plaintiff
filed suit alleging that she was terminated in violation

of the Whistleblowers’ Protection Act (WPA)* and the

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Worker's Disability Compensation Act.” Before trial,
the court granted defendant partial summary disposition
under MCR 2.116(C)(10) and limited plaintiff's damages
based on her failure to mitigate by accepting an offer
for similar enrployment. FoHowing a three-day jury trial,
plaintiff was awarded $5.000. The trial court subsequently
awarded plamtiff $35,715 in attorney fees pursuant to
MCL 13.364.

IL. Attorney Fees under the WPA

Defendant argues that the trial court abused its discretion
in awarding plaintiff $35.715 in attorney fees. Defendant
contends that plainiif was not a prevailing party, that the
award was disproportionate to plaintiffs damages, and
that the trial court abdicated its responsibility to exercise
discretion in determining the reasonableness of dhe award,
We review a trial court's award of attorney fees under the

WPA for an abuse of discretion. *

We disagree with defendant's contention that plaintiff was
not a prevailing party. “In order to be considered the
prevailing party, [the party is] required. to show at the very
ieast that its position was improved by the litigation.” >
Under the “improved position” test. a plaintiff's position
“improves” when the plamtilf receives a judgment “in an
amount greater than the offer made by defendants.” ®
Defendant argues that plaintiff did not prevail because
the jury's award was very small compared to the amount
she sought during settlement negotiations. However, the
amount sought by plaintiff during settlement negotiations
is immaterial. Plaintiff was a prevailing party because the
judgment in her favor exceeded defendant's $500 offer of
judgment.

Furthermore, in awarding costs and attorney fees under
the WPA, the trial court is merely required to determine
that “the award is appropriate.” “ “Because the WPA is a
remedial statute, it is to be liberally construed to favor the
persons the Legislature intended to benefit.” * Due to its
nearly identical language. this Court has held that case Jaw
interpreting MCL 37.2802 under the Elliott-Larsen Civil
Rights Act (CRA) is applicable to MCL 15.364.? Under
the CRA. “[tJo be considered a prevailing party. a plaintiff
must receive at least some relief on the merits of plaintiff's
claim, such as an award of damages, an injunction, or

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a declaratory judgment on a favorable consent decree or
settlement.” !° As the jury verdict was in plaintiff's favor

and she received some relief, she was also a prevailing
party under the WPA.

*2 Therefore, the irial court had discretion to

defermine the reasonable amount of
fees according to various factors,
including (1) the skill, time. and
Jabor involved, (2) the Itkelihood.
if apparent to the client, that the
acceptance of the employment will
preclude other employment by the
lawyer, (3) the fee customarily charged
im that locality for similar services, (4)
the amount in question and the results
achieved, (5) the expense incurred, (6)
the time limitations imposed by the
client or the circumstances, (7) the
nature and length of the professional
relationship with the client. (8) the
professional standing and experience
of the attorney. and (9) whether the fee

is fixed or contingent. YW

Defendant contends that the trial court's award was
unreasonably disproportionate to the amount of actual
success plaintiff achieved at trial. This Court has
emphasized that “the [United States] Supreme Court has
held that the degree of plaintiffs success is a ‘crucial’ factor
in determining a proper award of attorney fees...” 12 a
trial court my reduce an award of attorney fees on the
basis of'a plaintiff's limited success, 13 outis not required
to do so. Therefore. the trial court did not abuse its
discretion by failing to limit plaintiff's award of attorney
fees based solely on her limited success at trial.

Defendant also contends that the trial court failed to
engage in auv consideration of the several factors. We
agree, “|FJailure to exercise discretion when called on
io do so constitutes an abdication and hence an abuse

of discretion.” !4 The trial court's opinion contains an

accurate summary of the purposes of the WPA and the
factors to be considered under Grow, as well as a similar set
. _ ., 18 .
of factors under Crawler y. Schick. Is However, the tria]
court's opinion contains no findings of fact regarding any

of the factors. The trial court stated that “Plaintiff seeks
to recover attorney fees in the amount of $36,180." The
trial court reduced that amount by $465, because the triai
court agreed with defendant that three items should not
have been included on plaintiff's billing statement,

A “trial court need not detail its findings as to each
specific factor considered.” '6 However, the trial court
is required to make findings of fact. '? ‘Phe trial court's
bare conclusion that 335.715 was a reasonable amount
of attorney fees is insufficient to show that it properly
considered the reasonableness of plaintiff's requested fees.
Accordingly, we must remand to allow the trial court to
make a record of it findings regarding the reasonableness

of the awarded fees. |

TH. Mitigation of Damages

Plaimtiff argues that the trial court erroneously granted
defendant partial summary disposition. on the grounds
that she failed to mitigate her damages by declining
a job offer in favor of seeking a better job. We
disagree. This Court reviews a trial court's determination
regarding a motion for summary disposition de novo. 9
A motion under MCR 2,116(C}(10) tests the factual
support of a plaintilfs claim. 20 ery reviewing a motion
for summary disposition brought under MCR 2.116(C)
(10), we consider the affidavits, pleadings. depositions,
admissions, or any other documentary evidence submitted
in [the] light most favorable to the nonmoving party to
decide whether a genuine issue of material fact exists.” 7!
Sunmmary disposition is appropriate only if there are ao
genuine issucs of material fact. and the moving party is

entitied to judgment as a matter of law. 22

*3 Although a pluintif is required to mitigate her
damages, a plaintiff is not required “to make a// efforts
to climinate the economic damages resulting from the
wrongdoing. Rather, [she] is only required to make efforts
that are reasonable under the circumstances to find

employment.” 23 4 plaintiif is not required “to accept
an unacceptable job” or “employment that he or she
finds demeaning, particularly inconvenient, or otherwise
unacceptable,” but a plaintiff is obligated “to accept,
WF offered, employment that is substantially similar to

that from which the plaintiff was fired.” * Although a

? Tnerneen Roulers. No claim to original LS. Goveraaeal Works 2
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defendant cannot use the duty to mitigate as a “sword,”
a defendant is entitled to some measure of protection
against unnecessary floss-a plaintiff does not have an

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unlimited right to pick and choose. ~

Plaintiff stated at her deposition that she was presented
with two job offers in October of 2002. one with Wells
Fargo and one with John Adams Mortgage Company.
Her fater affidavit states that John Adams did not extend
an offer until December. However, a party may not submit
an affidavit contradicting earlier sworn testimony in order
to create an issue of fact and defeat a motion for summary

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disposition. 7° Both plamtiff's deposition testimony and
her affidavit state that she tummed down these jobs solely
because she was seeking a better one, not because she

Footnotes

found them unacceptable. Therefore. there was no factual
dispute that plaintiff voluntarily extended her period of
unemployment merely because she wanied better. rather
than like, employment. Accordingly, summary disposition
was appropriate.

Affirmed in part. We vacate the trial court's award of
attorney fees and remand for a factual determination
regarding the reasonableness of the requested fees. We do
not retain jurisdiction,

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4 While both defendants are named as appellants, only Crest Financial actually has an interest in this appeal. Therefore,

we will refer to Crest Financial as the singular defendant.

321 NW2d 653 (1982).

? MCL 15.361 et seq.

3 MCL 418.101 ef seg.

4 O'Naill v. Home IV Care, Inc, 249 Mich.App 608, 612; 643 NW2d 600 (2002).

5 Citizens ins Co of America v. Juno Lighting, inc, 247 Mich.App 236, 245; 635 NWed 379 (2001).

6 Stamp v. Hagerman, 181 Mich.App 332, 337; 448 NW2d 849 (1989), citing LaForest v. Grunow, 43 Mich.App 254, 256;
204 NW2d 385 (1972).

? MCL 15.364.

& O'Neill, supra at 614.

g id, at 642-613.

10 = Meyer v. Center Line, 242 Mich.App 560, 576; 619 NW2d 182 (2000).

11 Grow v. WA Thomas Co, 236 Mich.App 696, 714-715; 601 NW2d 426 (1999), citing Wood v. DAHE, 413 Mich. 573, 588:

41? Schellenberg v Rochester Michigan Lodge No 2225, of Benevolent & Protective Order of Elks of USA, 228 Mich.App
20, 47; S77 NW2d 163 (1998), quoting Colister v. Sunshine Food Stores, inc, 166 Mich.App 272, 275; 419 NW2d 781

(1988) (emphasis omitted).
13. fd at 45-46.

14 ~~ Rieth v. Keeler, 230 Mich.App 346, 348; 583 NW2d 552 (1998), quoting People v. Stafford, 434 Mich. 125, 134 n 4;

450 NWed 559 (1990).

15 Crawley v. Schick, 48 Mich.App 728, 737: 211 NW2d 217 (1973).

16 Wood, supra at 588.

17 B & 8 Investinent Group v. Giller, 229 Mich.App 1, 16; 581 NW2d 17 (1998), quoting Howard v. Canteen Corp, 192

Mich.App 427, 437; 481 NWed 718 (1992).

18 See JC Building Corp if v. Parkhurst Homes, Inc, 217 Mich.App 421, 430-431; 552 NW2d 466 (1996).
19  Beaudrie v. Henderson, 465 Mich, 124, 129; 631 NW2d 308 (2001).

20 Auto-Owners ins Co v Allied Adjusters & Appraisers, inc, 238 Mich.App 394, 397; 605 NW2d 685 (1999),
21 singer v. American States ins, 245 Mich.App 370, 374; 631 NW2d 34 (2004).

22 MacDonald v. PKT, inc, 464 Mich. 322, 332; 628 NW2d 33 (2001).

23 Morris v. Clawson Tank Co, 459 Mich. 256, 264; 587 NW2d 253 (1998) (emphasis in original}.

24 id. at 265, citing Ford Motor Co v, EEOC, 458 U.S. 219, 231-232; 102 S Ct 3057; 73 L.Ed.2d 724 (1982).

25 id. at 265, 268.

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26 ~~ Dykes v. William Beaumont Hosp, 246 Mich.App 471, 480; 633 NW2d 440 (2001).

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